 

	
	
	
	
	OSCN Found Document:REINSTATEMENT OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    





				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				REINSTATEMENT OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2015 OK 14Decided: 03/23/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 14, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 





RE: Reinstatement of Certificates of Certified Shorthand 
Reporters
ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters has 
recommended to the Supreme Court of the State of Oklahoma that the certificate 
of each of the Oklahoma Certified Shorthand Court Reporters named below be 
reinstated as these reporters have complied with the continuing education 
requirements for calendar year 2014 and/or with the annual certificate renewal 
requirements for 2015, and have paid all applicable penalty fees. 
IT IS HEREBY ORDERED that, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 
and 23, the certificates of the following court reporters are reinstated from 
the suspension earlier imposed by this Court:

  
  
    
      Name &amp; CSR #
    
      Effective Date of Reinstatement
  
    
      Laurie C. Johnson, CSR #1437
    
      March 4, 2015
&nbsp;
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 23rd day of 
March, 2015. 
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
